Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 1 of 8




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  DANIEL ROBERT                           *
  SSGT, U.S. ARMY                         *
                                          *
  HOLLIE MULVIHILL                        *
  SSGT, USMC                              *
                                          *
         Plaintiffs,                      *
                                          *
                 v.                       *
                                          *   Civil Action No. 1:21-cv-02228-RM-STV
  LLOYD AUSTIN                            *
  Secretary of Defense,                   *
  U.S. DEPARTMENT OF DEFENSE              *
  Washington, D.C. 20301                  *
                                          *
         and                              *
                                          *
  XAVIER BECERRA                          *
  Secretary of the U.S. Department of *
  Health and Human Services               *
  U.S. DEPARTMENT OF HEALTH               *
  AND HUMAN SERVICES                      *
                                          *
         and                              *
                                          *
  JANET WOODCOCK, Acting                  *
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 2 of 8




  Commissioner of the Food & Drug               *
  Administration                                *
  U.S. FOOD AND                                 *
  DRUG ADMINISTRATION                           *
                                                *
  UNITED STATES OF AMERICA                      *
                                                *
         Defendants.                            *
  *      *       *       *       *      *       *       *       *       *      *       *       *


                   MOTION FOR LEAVE TO FILE AMENDED COMPLAINT


         Pursuant to Rule 15 of the Federal Rules of Civil Procedure, the original Plaintiffs – the

  class of military servicemembers who have already had COVID-19 and are facing mandatory

  vaccination with an unlicensed Emergency Use Authorization (EUA) drug – respectfully move

  the Court for leave to file the attached Amended Complaint (“Amended Complaint”) in

  conformance with the Court’s local rules, D.C.COLO.LCivR 15.1(a).

         Rule 15 provides that “a party may amend its pleading [with] the court’s leave” and that

  “[t]he court should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). Plaintiffs

  originally – and erroneously – filed an amended complaint (ECF Dkt. #18) outside of the 21-day

  window for filing amended complaints “as a matter of course”1 under Rule 15(a)(1)(A).

  Allowing Plaintiffs to file the Amended Complaint would serve justice and promote judicial

  efficiency because the Defendants have not yet filed an answer or entered an appearance in the

  case. Further, there would be no undue prejudice to Defendants and there has been no bad faith



  1
    Defendants in this case were served on Aug. 27, 2021, making Sep. 17, 2021, the suspense date
  for an amended complaint filing “as a matter of course.”
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 3 of 8




  by Plaintiffs; Plaintiffs seek only to put evidence and facts before the Court resulting from

  Defendant DOD’s own actions subsequent to the filing of the Original Complaint.

         For example, the Defendant SECDEF’s original order of August 24, 2021, stated that

  “Mandatory vaccination against COVID-19 will only use vaccines that receive full licensure

  from the Food and Drug Administration (FDA).”2 (emphasis added). The Defendant FDA issued

  confusing guidance regarding the licensure status of two different vaccines, one called

  COMIRNATY that the FDA approved a Biologics License Application (BLA) for, and one

  called Pfizer BioNTech BNT-162b2 (“Pfizer BNT”), for which the FDA extended its Emergency

  Use Approval.

         It was therefore unclear what stocks the DOD had of each and what would be used to

  inoculate service members such as Plaintiffs. It was also unclear to what extent Defendants

  would follow their own regulations for service members who had naturally acquired immunity as

  a result of already having had and recovered from COVID-19. DOD components began ordering

  armed forces members to be inoculated with the EUA Pfizer BNT vaccine. On Sept. 3, 2021,

  officials operating under the authority of Defendant DOD published a document called “COVID-

  19 MANDATORY VACCINATION IMPLEMENTATION GUIDANCE FOR

  SERVICEMEMBERS.”3 In that document, under ¶1.4.2, “Applicability and Scope,” Defendant

  DOD states that “All other eligible personnel are strongly recommended to voluntarily receive

  either the approved COMIRNATY® or other FDA EUA or WHO EUL COVID-19 vaccines.”

  This is a clear admission that service members cannot be forced or coerced into taking either the

  COMIRNATY or any EUA product. Notwithstanding this, service members continue to be



  2
    Defendant Austin’s Order is available online - here - and is included as an exhibit to the
  proposed Amended Complaint.
  3
    This document is also an Exhibit to Plaintiffs Amended Complaint.
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 4 of 8




  coerced, have leave and liberty curtailed or denied, and other adverse administrative actions

  taken against them in order to pressure them into taking an EUA product.

           One week later, on Sept. 10, 2021, members of Defendant DOD issued a “SJA [Staff

  Judge Advocate] Update” for military lawyers regarding this issue.4 This guidance claims to cite

  a Assistant Secretary of the Navy (Manpower and Reserve Affairs) “clarification” that “Bottom

  Line – the Pfizer-BioNTech vaccine and the Comirnaty vaccine have the same formulation and

  are interchangeable.” This is legally incorrect and triggered Plaintiffs need to file the Amended

  Complaint in order to stop what has now become a mandate forcing military members to accept a

  clear EUA product in violation of two separate federal statutes.

           Allowing the Plaintiffs to submit an Amended Complaint will help the Court and the

  interests of justice rather than hinder or cause undue delay, because Plaintiffs’ amended

  complaint has not changed in substance beyond incorporating and addressing the various

  conflicting pieces of evidence mentioned above. It is Plaintiffs’ contention that some of these

  documents constitute “admissions by a party opponent” that the vaccine Defendant DOD seeks

  to use to inoculate Plaintiffs is not FDA-licensed.

           Plaintiffs therefore seek to add in those facts and exhibits to the record to ensure that the

  Court has a complete record of the status of the vaccine, as well as additional medical evidence

  that demonstrates the immediate and irreparable nature of the harm facing Plaintiffs. These

  allegations and supporting evidence support a contemporaneously filed Preliminary Injunction

  Motion and help Plaintiffs meet their evidentiary burden. Given that none of the Defendants have

  answered the Complaint, nor entered an appearance in the proceedings, and that these documents




  4
      This document is included as an Exhibit to the Amended Complaint, as well.
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 5 of 8




  are the Defendants’ own products, none of these changes will surprise or unfairly prejudice the

  Defendants.

         WHEREFORE, Plaintiffs pray this honorable Court will grant this Motion for Leave to

  Amend the Complaint so as to limit any detriment or prejudice to either party, ensure that the

  Court has a complete, fulsome record upon which to decide the case, and ensure that the needs of

  justice are met.




  Dated: September 29, 2021


  Respectfully submitted,


                                  /s/ Todd S. Callender
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                                Attorney for the Plaintiffs


                                  /s/ Dale Saran
                                Dale Saran, Esq.
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                                Olathe, KS 66061
                                Telephone: 800-670-2577
                                Attorney for the Plaintiffs
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 6 of 8




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


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  SSGT, U.S. ARMY                       *
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  Secretary of the U.S. Department of   *
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                                        *
         and                            *
                                        *
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 7 of 8




  JANET WOODCOCK, Acting                      *
  Commissioner of the Food & Drug             *
  Administration                              *
  U.S. FOOD AND                               *
  DRUG ADMINISTRATION                         *
                                              *
  UNITED STATES OF AMERICA                    *
                                              *
         Defendants.                          *
  *      *      *       *      *       *      *      *      *       *      *          *
                                             ORDER


  1.     On September 24, 2021, the Plaintiffs filed an Amended Complaint outside of the 21-day

  time-limit for amending complaints as matter of cause under Fed.R.Civ.P. 15 and without leave

  of the Court. The Amended Complaint was also not in compliance with D.C.COLO.LCivR

  15.1(a) regarding form.

  2.     The Court issued a minute order ordering the corrections by Sep. 29, 2021.

  3.     Having examined the Amended Complaint, its Exhibits, and noting that the Defendants

  have not yet appeared or answered the original complaint in the case, and that the Amended

  Complaint does not change the nature of the claims against the Defendants, the Motion for Leave

  to Amend the Complaint is granted.



  ORDERED that the Amended Complaint is accepted in accordance with Fed.R.Civ.P.

  15(a)(2) and D.C.COLO.LCivR 15.1(a).



  Dated: September ____, 2021
Case 1:21-cv-02228-RM-STV Document 26 Filed 09/29/21 USDC Colorado Page 8 of 8




                                         __________________________
                                         Honorable Raymond P. Moore
                                          Judge of the District Court
